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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA


    ALEX BROWN and TRENT CLAYTON,
    individually and on behalf of all others
    similarly situated,                                  Civil Action No.
                                                                              2:21-cv-1119
                          Plaintiffs,

           v.

    PENNSYLVANIA INTERSCHOLASTIC
    ATHLETIC ASSOCIATION INC.,

                          Defendant.


                                  CLASS ACTION COMPLAINT

         Alex Brown and Trent Clayton, on behalf of themselves and other student athletes, bring

this action against Pennsylvania Interscholastic Athletic Association Inc. seeking an equal

opportunity for wheelchair and other para-ambulatory athletes to qualify for and, upon

qualification, compete in PIAA’s Track and Field Championships, beginning in 2022.

                          NATURE AND SUMMARY OF THE ACTION

         1.       PIAA regulates interscholastic athletic competition in Pennsylvania.

         2.       Although PIAA requires member schools to accommodate some Para athletes1

during the regular season, no process exists for Para athletes to qualify for and, upon

qualification, compete in PIAA’s end-of-season Track and Field Championships.

         3.       That’s because, according to PIAA, “[t]rack and field events administered by

PIAA are intended for participation by able-bodied athletes[,]” only.2



1
  Plaintiffs use the term “Para athlete” to describe individuals who have a permanent physical
disability and who compete, will compete, or have been deterred from competing in high school
track and field in Pennsylvania.
2
  2020-21 PIAA Policies and Procedures, PIAA, pp. 125-27 (Ex. A) (emphasis added).
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       4.       PIAA’s Equal Opportunity Statement does not even mention “disability.”3

       5.       This action seeks an injunction ordering PIAA to update its able-only policy to

ensure wheelchair and other para-ambulatory athletes have the same opportunity as their

classmates, beginning in the 2022 season, to qualify for and, upon qualification, compete in

PIAA’s high school track and field championships.

       6.       Although PIAA claims it “simply is not equipped to offer the broad range of

interscholastic competitive opportunities which might be desired or preferred,”4 at least 27 other

state high school associations maintain a wheelchair division for track and field. Of these states,

at least 12 also maintain a separate division for para-ambulatory athletes who do not use a

wheelchair to compete.5

       7.       By failing to maintain a process for these student athletes to qualify for and

compete at PIAA’s track and field championships, PIAA has denied Alex, Trent, and other

students “the values of competition/participation and performance,” which PIAA states should be

made available to students “at every conceivable opportunity.”6




3
  2020-21 PIAA Constitution and By-Laws: Equal Opportunity Statement, PIAA, p. 1 (Ex. B)
(“The Pennsylvania Interscholastic Athletic Association, Inc. (PIAA) believes that all boys and
girls should have equal opportunity to participate in all levels of interscholastic athletics
regardless of race, color, sex, creed, religion or ethnic background.”).
4
   Ex. A, p. 125.
5
   State High School Associations with Adaptive Sports Programming,
https://www.atfusa.org/HIGH_SCHOOL/Integrated%20State%20High%20School%20Athletic%
20Programs_1.29.19.pdf (last accessed Aug. 23, 2021).
6
   According to PIAA, “[i]nterscholastic athletics remain the best ‘deal,’ educationally and
financially in America today. All administrators, teachers, coaches, and parents should know,
understand and sell, at every conceivable opportunity, the values of competition/participation
and performance, as those values are the same for students in grades 7 through 12, whether they
finish 1st or 101st.” Our Philosophy, PIAA (emphasis added),
http://www.piaa.org/about/philosophy.aspx (last accessed Aug. 23, 2021).

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        8.       For the same reason, PIAA has also violated Titles II and III of the Americans

with Disabilities Act of 1990 as amended, 42 U.S.C. §§ 12132, 12182 (“ADA”), and Section 504

of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (“Section 504”).

                                  JURISDICTION AND VENUE

        9.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

the claims arise under the laws of the United States.

        10.      Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S.C. §§

1391(b) and (c) because Alex resides and attends high school in this District; PIAA sets

standards and operates track and field meets in this District; and PIAA has sufficient minimum

contacts with this District.

                                              PARTIES

                                             Alex Brown

        11.      Alex is a 15-year-old student at North Catholic High School in Cranberry

Township, Pennsylvania, where he will be a sophomore this fall.

        12.      Alex expects to graduate from North Catholic High School in 2024.

        13.      Like many students across Pennsylvania, Alex enjoys track and field.

        14.      Alex uses a wheelchair to participate in extracurricular athletics, including track

and field.

        15.      That’s because Alex suffered a spinal cord injury when he was four years old and

is substantially limited in one or more major life activities, including, but not limited to, walking,

bending, and standing.

        16.      As a result, Alex is a qualified individual with a disability under the ADA.




                                                   3
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                                             Trent Clayton

       17.     Trent is an 18-year-old student in West Chester, Pennsylvania.

       18.     Trent expects to graduate from high school in 2022.

       19.     Like many students across Pennsylvania, Trent enjoys track and field and has

been a member of the at West Chester East High School track and field team since 2018.

       20.     Trent has cerebral cavernoma, a vascular abnormality of the central nervous

system that substantially limits Trent in one or more major life activities, including, but not

limited to, walking, lifting, and bending.

       21.     As a result, Trent is a qualified individual with a disability under the ADA.

                     Pennsylvania Interscholastic Athletic Association Inc.

       22.     PIAA is a non-profit corporation with its principal place of business in

Mechanicsburg, Pennsylvania.

       23.     PIAA is the only statewide sports association in Pennsylvania and the only

organization that maintains state high school championships in Pennsylvania.

                                               FACTS

       24.     Alex began competing in track and field when he was ten years old.7

       25.     As a freshman in 2021, Alex competed in the 100-meter dash and shot put for the

North Catholic Trojans.8




7
  Deborah Deasy, Charity founded by Cranberry couple helps children with spinal cord
problems ‘Rise Again’, Trib Total Media (Jan. 18, 2016),
https://archive.triblive.com/news/charity-founded-by-cranberry-couple-helps-children-with-
spinal-cord-problems-rise-again/ (last accessed Aug. 23, 2021).
8
  John Enrietto, Ultimate Teammate: North’s Brown scoring points from wheelchair, Cranberry
Eagle (Apr. 21, 2021), http://www.cranberryeagle.com/article/20210421/CRAN0102/704219995
(last accessed Aug. 23, 2021).

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         26.     Alex earned a varsity letter in track and field for North Catholic by competing at

individual meets during the 2021 regular season and at the WPIAL Track and Field Team

Championships, where he completed the 100-meter dash in 23.57 seconds and recorded a best

throw of 11 feet, 1 inch in the shot put.

         27.     WPIAL stands for Western Pennsylvania Interscholastic Athletic League.9

         28.     WPIAL is one of twelve districts governed by PIAA’s Constitution and By-Laws.

         29.     WPIAL consists of schools in ten counties, including Allegheny, Armstrong,

Beaver, Butler, Fayette, Greene, Indiana, Lawrence, Washington, and Westmoreland.

         30.     Since 2018, Trent has competed in the discus and shot put for the West Chester

East Vikings.

         31.     Trent’s personal record in the discus is 83 feet, 4 inches. His personal record in

shot put is 22 feet, 8 inches.

         32.     West Chester East High School is part of PIAA District One.10

         33.     Like WPIAL, District One is one of twelve districts governed by PIAA’s

Constitution and By-Laws.

         34.     District One consists of schools in four counties, including Bucks, Montgomery,

Chester, and Delaware.

         35.     Each year, WPIAL, District One, and the remaining PIAA districts host end-of-

season track meets to determine which student athletes from their respective member schools

advance to the PIAA Track and Field Championships.




9
    See WPIAL, https://www.wpial.org/ (last accessed Aug. 23, 2021).
10
     See District One, https://www.piaad1.org/ (last accessed Aug. 23, 2021).
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       36.     Student athletes qualify for the PIAA Track and Field Championships by placing

eighth or better in the finals of their district championship meet, provided their time, height, or

distance at the district championship meet equals or is better than certain qualifying standards

that PIAA sets.11

       37.     PIAA adjusts the qualifying standards by gender and school size such that every

student competing in track and field can share in the common goal of qualifying for the PIAA

Track and Field Championships—except for Para athletes.

       38.     PIAA does not allow Para athletes to participate in the annual PIAA Track and

Field Championships and does not maintain qualifying standards for these athletes.

       39.     By failing to maintain a procedure through which Para athletes can qualify for

and, upon qualification, compete in the PIAA Track and Field Championships, PIAA denies

Alex, Trent, and other Para athletes the opportunity to:

               a.      share in their teammates’ goal of qualifying for “states”;

               b.      participate in the PIAA Track and Field Championships;

               c.      earn points for their school, if it qualifies for the PIAA Track and Field

Championships as a team;

               d.      meet and compete against other Para athletes across Pennsylvania—

athletes they cannot compete against during the regular season because they are geographically

dispersed across PIAA’s twelve districts;

               e.      represent their schools and communities on a statewide level;




11
   2021 PIAA Track & Field Championships, PIAA,
https://www.piaa.org/assets/web/documents/2021_SQS_Qualifiers.pdf (last accessed Aug. 23,
2021).

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               f.         showcase their athletic ability to college scouts and programs, like Penn

State Ability Athletics Track and Field;12

               g.         earn athletic scholarships; and

               h.         gain the lifelong memories and other long-term benefits of participating in

interscholastic sports.

       40.     As a result of being denied these opportunities, Alex and Trent cannot help

feeling deterred from concentrating in and committing to track and field events, like the 100-

meters, shot put, and discuss.

       41.     Instead, Alex and Trent are more likely to focus on other sports and activities, like

sled hockey, tennis, or video games, that are unaffiliated with PIAA, their classmates, friends,

coaches, mentors, and schools.

       42.     If PIAA maintained a procedure through which Alex and Trent could qualify for

and, upon qualification, compete in the PIAA Track and Field Championships—like it does for

the “able-bodied” athletes in Pennsylvania—Alex and Trent would not be so deterred, and would

train even harder to earn the right to compete alongside their teammates at future PIAA Track

and Field Championships.

       43.     Still, despite the unequal opportunities available to Alex and Trent under PIAA’s

current able-only policy, and the deterrent effect this unequal treatment has on their commitment

to interscholastic track and field, generally, Alex and Trent intend to participate in track and field

for their respective high school teams in 2022 because they enjoy their teammates, coaches, and

being part of these high school sports communities.




12
   Penn State Ability Athletics Track and Field, Go PSU Sports,
https://gopsusports.com/sports/2018/8/8/ability-track-html.aspx (last accessed Aug. 23, 2021).

                                                    7
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       44.     Unlike Pennsylvania, many other states allow Para athletes to compete in their

high school state championship meets.

       45.     For example, if Alex lived 30

miles east and attended high school in East

Liverpool, Ohio, then he could have qualified

for and competed in Ohio’s annual track and

field tournament, in which wheelchair athletes

have competed since 2013.

       46.     Indeed, Alex’s time of 23.57

seconds in the 100-meter dash at the WPIAL

meet would have won him 10th place at the

2021 Ohio D1 State Track and Field

Championships.13 His shot put of 11 feet 1

inch would have earned him 7th place.14

       47.     If Trent lived in California, he could have participated in the Ambulatory Para

athlete divisions in shot put and discus at the 2019 State Championships.15

       48.     Unlike students in Ohio, California, and at least a dozen other states across the

country,16 Alex and Trent will never have the chance to qualify for and, upon qualification,


13
   Boys 100 Meter Dash Seated Wheelchair – Preliminaries, AthleticLive,
https://results.timingfirst.com/meets/10110/events/336394/results (last accessed Aug. 23, 2021).
14
   Boys Shot Put Seated Wheelchair, AthleticLive,
https://results.timingfirst.com/meets/10110/events/336331/results (last accessed Aug. 23, 2021).
15
   2019 CIF State Championships – Results, http://www.rtspt.com/events/cif/2019/compiled.pdf
(last accessed Aug. 23, 2021).
16
   State High School Associations with Adaptive Sports Programming,
https://www.atfusa.org/HIGH_SCHOOL/Integrated%20State%20High%20School%20Athletic%
20Programs_1.29.19.pdf (last accessed Aug. 23, 2021).
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compete alongside their teammates at the PIAA Track and Field Championships unless PIAA

modifies its current able-only rules, policies, and procedures before the 2022 season.

                                     CLASS ALLEGATIONS

       49.      Alex brings this class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2) on

behalf of himself and the following statewide class:

             Wheelchair Athlete Class: “All individuals with a permanent physical
             disability, who use a wheelchair to compete in track and field, and who have
             been, or in the future will be, denied a full and equal opportunity to qualify for
             and, upon qualification, compete in the PIAA Track and Field Championships
             because PIAA does not offer wheelchair divisions at the PIAA Track and Field
             Championships.”

       50.      Trent brings this class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2) on

behalf of himself and the following statewide class:

             Ambulatory Para Athlete Class: “All individuals with a permanent physical
             disability who have been, or in the future will be, denied a full and equal
             opportunity to qualify for and, upon qualification, compete in the PIAA Track
             and Field Championships because PIAA does not offer para-ambulatory
             divisions at the PIAA Track and Field Championships.”

       51.      Numerosity: The classes described above are so numerous that joinder of all

individual members in one action would be impracticable because, without limitation, the classes

consist of numerous individuals who are geographically diverse and are unlikely to bring

individual suits given their status as school students and/or minors. Disposition of the class

members’ individual claims through this class action will benefit both the parties and Court, and

will facilitate judicial economy.

       52.      Typicality: Plaintiffs’ claims are typical of the claims of the members of the

classes because they arise from the same course of conduct engaged in by PIAA, are based on

the same alleged violations of the same statutes and regulations, and seek the same relief.


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        53.    Common Questions of Fact and Law: There is a well-defined community of

interest and common questions of fact and law affecting members of the classes, including but

not limited to: (a) whether the ADA or Section 504 requires PIAA to provide Para athletes the

opportunity to qualify for and, upon qualification, compete in the PIAA Track and Field

Championships; (b) if either the ADA or Section 504 requires PIAA to provide Para athletes the

opportunity to qualify for the PIAA Track and Field Championships, do these statutes also

require PIAA to allow Para athletes to score points for their teams at the PIAA Track and Field

Championships; and (c) whether either accommodation would fundamentally alter the PIAA

Track and Field Championships such that PIAA may continue excluding Para students from the

PIAA Track and Field Championships.

        54.    Adequacy of Representation: Plaintiffs are adequate representatives of the classes

they seek to represent because their interests do not conflict with the interests of the members of

those classes. Plaintiffs will fairly, adequately, and vigorously represent and protect the interests

of the members of the classes, and they have no interests antagonistic to the members of the

classes. Plaintiffs have retained counsel who are competent and experienced in the prosecution of

class action litigation, generally, and who possess specific expertise in the context of ADA

litigation.

        55.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) because PIAA has

acted or refused to act on grounds generally applicable to the classes, making appropriate both

declaratory and injunctive relief with respect to Plaintiffs and the classes as a whole.

                                 FIRST CLAIM FOR RELIEF
                         Title II of the ADA, 42 U.S.C. § 12132, et seq.

        56.    The assertions contained in the previous paragraphs are incorporated by reference.




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       57.     Title II of the ADA provides that “no qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132.

       58.     Alex and Trent are each a “qualified individual with a disability” within the

meaning of Title II because they are limited in the major life activities of walking, bending,

lifting, and/or standing, and because they meet the essential eligibility requirements for

participation in the programs and activities that PIAA provides. 42 U.S.C. § 12131(2).

       59.     PIAA is a “public entity” within the meaning of Title II because PIAA’s

membership is comprised mostly of public schools and because it receives state and federal

funding indirectly through PIAA member schools.17 42 U.S.C. § 12131(1).

       60.     By failing to maintain a process through which Para athletes can qualify for and,

upon qualification, compete in the PIAA Track and Field Championships, PIAA has excluded

Alex and Trent from participating in Pennsylvania’s only high school state track and field

championship, denied Alex and Trent the benefits of that opportunity, and otherwise subjected

Alex and Trent to a policy that expressly disclaims any responsibility for Para athletes (see, e.g.,

PIAA’s Policies limiting participation to “able-bodied athletes” (Ex. A) and Equal Opportunity

Statement omitting student athletes with disabilities (Ex. B)).

       61.     In other words, PIAA has violated Title II of the ADA.




17
  “Junior high/middle schools pay annual dues of $250; senior high schools pay annual dues
ranging from a low of $475 to a high of $625, based on school size.” A Principals’ Organization,
Principle-Based, PIAA, http://www.piaa.org/about/story.aspx (last accessed Aug. 23, 2021).

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       62.     PIAA’s ongoing and continuing violations of Title II have caused, and in the

absence of an injunction will continue to cause, harm to Alex, Trent, and the classes by barring

this group of student athletes from future PIAA Track and Field Championships.

                                SECOND CLAIM FOR RELIEF
                         Title III of the ADA, 42 U.S.C. § 12181, et seq.

       63.     The assertions contained in the previous paragraphs are incorporated by reference.

       64.     Title III of the ADA generally provides that “[n]o individual shall be

discriminated against on the basis of disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages, or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation.” 42 U.S.C. § 12182(a); 28 C.F.R. § 36.201(a).

       65.     More specifically, Title III makes it illegal for public accommodations to deny

participation in an activity, or to afford an unequal degree of participation in an activity, to an

individual or class on the basis of a disability. 42 U.S.C. § 12182(b)(1)(A).

       66.     PIAA is a “place of public accommodation” under Title III of the ADA because it

owns, leases, and/or operates places of public accommodation; provides benefits and services for

the public at and for places of public accommodation; provides and enforces rules, regulations,

and standards that are in force at events conducted at or by places of public accommodation; and

directs employees and independent contractors to administer benefits and services at places of

public accommodation on PIAA’s behalf.

       67.     By failing to maintain a process through which Para athletes can qualify for and,

upon qualification, compete in the PIAA Track and Field Championships, PIAA has excluded

Alex and Trent from participating in Pennsylvania’s only high school state track and field

championship, denied Alex and Trent the benefits of that opportunity, and otherwise denied Alex

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and Trent full and equal enjoyment of PIAA’s goods, services, and facilities (see, e.g., PIAA’s

Policies limiting participation to “able-bodied athletes” (Ex. A) and Equal Opportunity Statement

omitting student athletes with disabilities (Ex. B)).

       68.     In other words, PIAA has violated Title III of the ADA.

       69.     PIAA’s ongoing and continuing violations of Title III have caused, and in the

absence of an injunction will continue to cause, harm to Alex, Trent, and the classes by barring

this group of student athletes from future PIAA Track and Field Championships.

                                THIRD CLAIM FOR RELIEF
             Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794, et seq.

       70.     The assertions contained in the previous paragraphs are incorporated by reference.

       71.     Section 504 provides, in pertinent part: “No otherwise qualified individual with a

disability…shall, solely by reason of her or his disability, be excluded from the participation in,

be denied the benefits of, or be subjected to discrimination under any program or activity

receiving Federal financial assistance….” 29 U.S.C. § 794(a).

       72.     Alex and Trent are each a “qualified individual with a disability” within the

meaning of Section 504 because they are limited in the major life activities of walking, bending,

lifting, and/or standing.

       73.     PIAA is a recipient of Federal financial assistance sufficient to invoke the

coverage of Section 504, and has received such Federal financial assistance at all times relevant

to the claims asserted in this Complaint.

       74.     PIAA received $301,400.00 in Federal financial assistance from the Small

Business Administration on April 9, 2020.18


18
  Loan Summary, https://www.usaspending.gov/award/ASST_NON_9884407002_7300 (last
accessed Aug. 23, 2021).

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       75.     PIAA received another $272,462.70 in Federal financial assistance from the Small

Business Administration on April 29, 2021.19

       76.     “[T]he term ‘program or activity’ means all of the operations of…an entire

corporation…if assistance is extended to such corporation[.]” 29 U.S.C. § 794(b)(3)(A)(i).

       77.     Because PIAA has received Federal financial assistance, all of its operations—

including PIAA Track and Field Championships—constitute a “program or activity” within the

meaning of the Rehabilitation Act.

       78.     The Office for Civil Rights Division of the United States Department of

Education published a Dear Colleague letter in 2013 providing guidance relating to students with

disabilities in extracurricular athletics. This letter provides that “the Department’s Section 504

regulations prohibit…providing a qualified student with a disability with…[a] service that is not

as effective as that provided to others and does not afford that student with an equal opportunity

to obtain the same result, gain the same benefit, or reach the same level of achievement in the

most integrated setting appropriate to the student’s needs[.]”20

       79.     By failing to maintain a process through which Para athletes can qualify for and,

upon qualification, compete in the PIAA Track and Field Championships, PIAA has excluded

Alex and Trent from participating in Pennsylvania’s only high school state track and field

championship, denied Alex and Trent the opportunity to reach the same level of achievement as


19
   Loan Summary, https://www.usaspending.gov/award/ASST_NON_4664048907_7300 (last
accessed Aug. 23, 2021).
20
   See Ex. C, Dear Colleague Letter: Students with Disabilities in Extracurricular Athletics
(January 25, 2013) from Seth M. Galanter, Acting Assistant Sec’y for Civil Rights, U.S. Dep’t
of Educ., p. 4 (Jan. 25, 2013), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-
201301-504.html (last accessed Aug. 23, 2021); see also Ex. D, Dear Colleague Letter: Students
with Disabilities in Extracurricular Athletics (January 25, 2021): Background and Fast Facts
(last modified Jan. 10, 2020), https://www2.ed.gov/print/about/offices/list/ocr/docs/dcl-factsheet-
201301-504.html (last accessed Aug. 23, 2021).

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a result of this exclusion, and otherwise subjected Alex and Trent to discrimination solely on the

basis of their disability (see, e.g., PIAA’s Policies limiting participation to “able-bodied athletes”

(Ex. A) and Equal Opportunity Statement omitting student athletes with disabilities (Ex. B)).

       80.     In other words, PIAA has violated Section 504 of the Rehabilitation Act.

       81.     PIAA’s ongoing and continuing violations of Section 504 have caused, and in the

absence of an injunction will continue to cause, harm to Alex, Trent, and the classes by barring

this group of student athletes from future PIAA Track and Field Championships.

                                     PRAYER FOR RELIEF

       WHEREFORE, Alex Brown and Trent Clayton respectfully request relief as follows:

       (A)     An order certifying the proposed classes, appointing Plaintiffs as representatives of

the proposed classes they seek to represent, and appointing undersigned counsel as counsel for the

proposed classes;

       (B)     A declaration that PIAA’s conduct as alleged violates Titles II and III of the

Americans with Disabilities Act, Section 504 of the Rehabilitation Act, and the regulations

promulgated under those statutes;

       (C)     Issuance of a permanent injunction requiring PIAA to provide Para athletes a

process to qualify for and, upon qualification, compete in the PIAA Track and Field

Championships in 2022 and beyond;

       (D)     An award of reasonable attorney’s fees and costs, as provided by law;

       (E)     Such other relief as the Court finds just and proper, including nominal damages;

and

       (F)     An Order retaining jurisdiction over this case until PIAA demonstrates its

compliance with the Court’s Orders.



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                                DEMAND FOR JURY TRIAL

     Plaintiffs request a jury trial.

Dated: August 24, 2021                     /s/ Kevin W. Tucker
                                           Kevin W. Tucker (He/Him) (PA 312144)
                                           Kevin J. Abramowicz (He/Him) (PA 320659)
                                           Chandler Steiger (She/Her) (PA 328891)
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